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                  IN THE UNITED STATES DISTRICT COURT
                FOR THE WESTERN DISTRICT OF TENNESSEE
                             WESTERN DIVISION
______________________________________________________________________________

HORN LAKE CREEK BASIN
INTERCEPTOR SEWER DISTRICT and
DESOTO COUNTY, MISSISSIPPI,

       Plaintiffs,

v.                                                      Case No. 2:20-cv-2641-MSN-cgc

CITY OF MEMPHIS, TENNESSEE,

      Defendant.
______________________________________________________________________________

                                 JUDGMENT
______________________________________________________________________________

JUDGMENT BY COURT. This action came before the Court on Plaintiff’s Complaint (ECF

No. 1), filed December 20, 2019,

IT IS THEREFORE ORDERED, ADJUDGED, AND DECREED that, in accordance with the

Order of Dismissal (ECF No. 77), entered September 22, 2023, this matter is hereby DISMISSED

WITH PREJUDICE.


APPROVED:

s/ Mark S. Norris
MARK S. NORRIS
UNITED STATES DISTRICT JUDGE

September 22, 2023
Date
